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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MISSOURI
                               EASTERN DIVISION

  KEITH ROSE,                                )
                                             )
                Plaintiff,                   )      Case No. 4:18-CV-1568
                                             )
  v.                                         )      JURY TRIAL DEMANDED
                                             )
  CITY OF ST. LOUIS, et al.,                 )
                                             )
                Defendants.                  )

                              ENTRY OF APPEARANCE

         COMES NOW Assistant City Counselor Brandon Laird and hereby enters his

  appearance as counsel of record for Defendants City of St. Louis, Col. Gerald Leyshock,

  Lt. Scott Boyher, Lt. Timothy Sachs, Sgt. Randy Jemerson, Sgt. Matthew Karnowski, and

  Sgt. Brian Rossomanno.

                                             Respectfully submitted,

                                             JULIAN BUSH
                                             CITY COUNSELOR

                                             /s/ Brandon Laird
                                             Brandon Laird
                                             Mo. Bar No. 65564
                                             Assistant City Counselor
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                             CERTIFICATE OF SERVICE

         I hereby certify that on February 5, 2019, the foregoing was electronically filed

  with the Clerk of the Court to be served by operation of the Court’s electronic filing

  system.


                                                     /s/ Brandon Laird
                                                     Brandon Laird
                                                     Assistant City Counselor




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